       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                       JUDGMENT RENDERED AUGUST 27, 2024



                                    NO. 03-23-00649-CR


                            Trevor William Anderson, Appellant

                                               v.

                                 The State of Texas, Appellee




    APPEAL FROM THE 277TH DISTRICT COURT OF WILLIAMSON COUNTY
             BEFORE JUSTICES BAKER, TRIANA AND KELLY
               AFFIRMED -- OPINION BY JUSTICE TRIANA




This is an appeal from the judgment of conviction entered by the trial court. Having reviewed

the record and the parties’ arguments, the Court holds that there was no reversible error in the

trial court’s judgment of conviction. Therefore, the Court affirms the trial court’s judgment of

conviction. Because appellant is indigent and unable to pay costs, no adjudication of costs

is made.
